                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          OCALA DIVISION

UNITED STATES OF AMERICA

v.                                          CASE NO. 5:20-cr-40-Oc-28PRL

JOSEPH SAMUEL CATALANO


           UNITED STATES’ RESPONSE IN OPPOSITION TO
             MOTION FOR RELEASE FROM CUSTODY

      The United States respectfully opposes the defendant’s motion to be

released and in support of its response in opposition, states the following:


      1.     The defendant has moved to be released from detention claiming

several medical concerns. Doc. 94. The government has been directed to

respond to his motion. Doc. 95.

      2.     The defendant was at liberty from the time of his arrest on

September 9, 2020, until January 7, 2021, when his release order was revoked

due to multiple positive drug tests for methamphetamine. Docs. 17, 87.

      3.     I have communicated with his Pretrial Services officer on

multiple occasions and discussed the claims in this motion. I have also

communicated with the U.S. Marshals Service and Maria Torres, Chief

Health Care Administrator (CHCA) for the Marion County Jail, regarding his
motion. Based on these communications, I oppose the defendant’s motion for

release.

       4.    With respect to his medical claim that he has a “long term

cardiac condition” which requires him to see a doctor, the government has

learned the following. Several months prior to his incarceration, the

defendant had a scan done of his heart which revealed no blockage and

required no stints. There are no known pressing concerns to the medical staff

at the jail regarding his heart condition. The defendant was seen by the

medical staff last Friday (January 29, 2021) and he made no mention of his

heart condition. If the defendant is aware of a pressing cardiac condition, he

paid little concern to that issue when he admittedly used methamphetamine

on nine occasions while he was out on bond.

       5.    The defendant claims that he is in not receiving his prescription

medication. The CHCA reports that all of his known prescription medications

are being provided to him. The defendant is reportedly taking all of those

medications. There are no complaints nor grievances in the jail system that

were filed by the defendant with regard to this allegation. While on pretrial

supervision, the defendant told his supervising officer that he was prescribed

trazadone (antidepressant), hydrochlorothiazide (hypertension), lisinopril

(hypertension and heart failure), and ropinirole (restless leg syndrome). The




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defendant has not specified in his motion which medication he is being

denied.

      6.     The defendant claims that he suffers from hypertension. The

CHCA reports that all of his blood pressure readings are in normal range and

that he is given his prescription for hypertension. Therefore, the CHCA

reports that this medical condition is being treated and is currently controlled.

She also reports that laboratory tests conducted before his incarceration have

been ordered and the defendant is scheduled for a routine three-month

checkup on his hypertension and heart. The defendant is receiving the same

care that he would receive if he were released from custody.

      7.     There is no reported medical record to support the defendant’s

claims about his alleged “bulging disc.” As noted above, the defendant was

seen last Friday and made no mention of any concern with respect to his back

or spine.

      8.     With respect to the defendant’s claims about an alleged

coronavirus outbreak at the jail, those claims are unfounded. The CHCA

reports that there are currently 0 cases of COVID-19 at the jail. Two weeks

ago, there were 3 confirmed cases and those occurred in a different pod from

that of the defendant. That pod was put in lockdown, the patients isolated in




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accordance with CDC guidelines and jail policies, and the inmates have

recovered.

      9.     There have been 0 deaths related to COVID-19 at the jail. The

CHCA reports that the jail had one inmate, age 77, who was

immunocompromised and fell ill in July 2020. That inmate was released and

transferred to a nearby hospital where he was bedridden. Sometime

thereafter, he tested positive for COVID-19 and died from complications

related to the virus. It is not clear where that inmate contracted the virus.

      10.    The defendant claims that he may be positive for COVID-19 but

the CHCA reports that he has not reported any symptoms or complaints. Nor

has the defendant asked for a COVID-19 test. All inmates who report

symptoms or who are exposed to someone who tests positive are

automatically tested. The facility has the ability to test with a Rapid Test and

the PCR test. The CHCS has indicated that she will test the defendant if the

Court directs her to, or if the defendant reports symptoms of the virus.

      11.    The Marion County Jail has taken extraordinary steps to protect

the inmates and the staff from the pandemic. The facility has the capacity to

address any outbreak as evident by the one two weeks ago referenced above.

The facility employs a team of medical professionals and provides round-the-

clock medical services. The facility is equipped to provide medical isolation




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when required. By virtue of his being in a detention facility, the defendant is

in the presence of medical professionals at all times. In the unlikely event that

he becomes infected with COVID-19, he will be quarantined, monitored, and

receive any needed treatment, consistent with the CDC guidelines.

       12.    While the COVID-19 virus is new, health claims by detainees are

not. Courts have generally recognized that “it is a rare case in which health

conditions present an ‘exceptional reason’” to allow for release where

otherwise detention would be warranted. United States v. Wages, 271 Fed.

App’x 726, 728 (10th Cir. 2008). In this case, the defendant has not made a

factual record that his needs will not be met while detained.

       13.    Judges throughout the Middle District of Florida have

consistently ruled that the COVID-19 outbreak alone is not sufficient to

warrant the release of pre-trial detainees. See United States v. Quinones, 8:19-cr-

326, Doc. 289 (order of District Court Judge Covington filed April 6, 2020:

“COVID-19 pandemic does not warrant revocation of the detention order”);

United States v. Rawding, 6:19-cr-236, Doc. 107 (order of District Court Judge

Byron filed April 8, 2020: “insufficient evidence to support the inference that

the Defendant’s continued detention… presents an unacceptable risk of

contracting the virus”); United States v. Fornia, 8:19-cr-326, Doc. 291 (order of

Magistrate Judge Sneed filed April 9, 2020: “no confirmed cases of COVID-19




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have been found at Defendant’s detention facility and that the facility has

proactively undertaken numerous measures to help prevent COVID-19

infections”); United States v. Songtao, 3:19-cr-192, Doc. 158 (order of Magistrate

Judge Klindt filed April 10, 2020: “pandemic does not qualify as having a

material bearing on whether there are conditions of release that will

reasonably assure the appearance of Defendants as required and the safety of

other persons and the community”).

      14.    The defendant’s claims are unfounded and do not warrant release

from custody.

      15.    The government takes no position with respect to his request to

wear civilian clothing at the time of sentencing.


                                              Respectfully submitted,

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                                              United States Attorney


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                        CERTIFICATE OF SERVICE


       I hereby certify that on February 5, 2021, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which

will send a notice of electronic filing to the following:


              Michael Nielsen, Esq.



                                             /s/ Michael P. Felicetta
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